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Exhibit B
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UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF NEW YORK

Mohamed John Sohel Akhtar and
La Buca Restaurant, Inc. d/b/a
Swing 46 Jazz and Supper Club,

Plaintiffs,

V.

Eric Adams, Mayor of the City of Seep Ne) Ze meesee GLE)VF)
New York, Rohit T. Aggarwala, New :

York City Department of

Environmental Protection, Eric I.

Eisenberg, and John and Jane

Does One through Thirty,

Defendants.

Declaration of Mohammed John Sohel Aktar

1, Mohammed John Sohel Aktar, of full age, declare and affirms,
under the penalty of perjury, to the truth of the following:

1. 1am a resident of the City of New York and owner/operator of La
Buca Restaurant, Inc., d/b/a Swing 46 Jazz and Supper Club, hereinafter
“Swing 46").

2. | make this statement in support of my “Response in Opposition” to
defendant Eric M. Eisenberg, “defendant Eisenberg’s,” Notice of Motion,
dated April 3, 2025, to dismiss my Amended Complaint.

3. | have been the owner and general manager of Swing 46, located

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at 349 West 46" Street, New York, New York for over twenty-five years.
4. Before | operated the club, | emigrated from Bangladesh and
became a United States citizen. | am what is commonly referred as a

person of color, along with being a Muslim. | am what might be referred to

as a minority within a minority group.
5. | am neither ashamed of my national origin, nor my religion. | am

proud to be a United States citizen and a resident of New York. | am
grateful for the opportunities | have benefited from while living in my
community. |, in turn, try to provide the community with a art form that
includes singing, jazz music with live musicians, and swing dance, what
had almost become a dying art form. Over the years | have worked very

hard at preserving this form of entertainment.

6. Swing 46 is located in what is known as “Restaurant Row.” | am
very pleased to serve both local customers and tourists with entertainment.
The club also provides work for musicians, singers, and dancers, along

with staff that are engaged in duties ranging from janitorial to chefs.

7. The community in which | work and reside has always been very
welcoming to me. | have never had problems with neither my neighbors
nor patrons. | never suffered from harassment of any kind in all the years |

have been in business, but that changed in about 2021.
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8. Starting in 2021, continuing through late 2023, | began to notice
an individual hanging around outside of my club. He would not come into
the club, but just walk back and forth, often staring at club patrons that
were dining on the patio. He is a white male, with brown close cropped hair,
casually dressed, he often wore a mask, and sometimes a cap. He
appeared to be 5’6” to about 5’8”. With his demeanor and attire he looked
out-of-place, and acted strangely by standing there and staring at patrons

and staff. 1 was to learn his name is Eric M. Eisenberg, the defendant

herein.

9. | have been told by the Swing 46 staff that that defendant
Eisenberg was coming onto the front patio and place what appeared to be
a cell phone directly against a speaker. The patio is private property
reserved for patrons and staff. Swing 46 provides live entertainment, and
the music is transmitted by speaker for the benefit of patrons dining on the
patio. He had been told numerous times to leave but he continued to

return and trespass upon the property.

10. A member of the staff, Michelle Collier, has observed defendant
Eisenberg coming onto the patio. In one instance she observed defendant

Eisenberg lean over a table where a group of young women were having

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dinner. When they told him to get away from them, he screamed

something nasty at them before walking off.

11. After learning from my staff that this individual, that is, defendant
Eisenberg was hanging around and causing problems, | kept a lookout for
him. I, along with members of my staff, have had at least ten personal
encounters with defendant Eisenberg trespassing upon my business. He
has been told repeatedly to stay away, but he persisted in returning. | have
observed him on the patio placing what appears to be a cell phone against
the outdoor patio speakers. After these encounters | was to learn that he

been filing noise complaints against my business.

12. When | would catch defendant Eisenberg trespassing, | would
immediately direct him to leave. He would become rude and nasty towards
me. | was taken aback by his behavior because | did not know this man,
and the only encounters | had with him was when he come onto, or hang
about, the property. Other than the defendant Eisenberg, neither myself,

nor my staff, have encountered anyone else behaving in a similar fashion.

13. | have never gone to the residence of defendant Eisenberg, but
yet he has persistent in coming to where | reside and maintain my business
to create problems. Ultimately | came to believe defendant Eisenberg

wants me out of the neighborhood. | have no other understanding why he
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would come after me by harassing my patrons and staff, and causing
problems for my business. In addition to his disruptive behavior, there are
financial consequences resulting fraudulent noise complaints he has filed
against me. Every day | worry about my business, and has affect my
health and well being.

14. Upon information and belief, defendant Eisenberg gets a share of
the fine money that is imposed against me. | have attempted to fight these
cases, but to no avail. In my view the system is rigged to benefit the City of
New York and the person writing the noise complaints. | have been
denied access to documents that allow me to defend myself. When |
sought adjournments for additional time to prepare a defense, | was told
they would be granted, then only to learn that defaults were entered against
me.

15. 1am one of very few minority business owners that is a person of
color; nor do | know of any other Muslims that operate a restaurant in the
area. None of my neighbors have complained to me over the music, which
comes from live performers. We are providing not only live entertainment,
but also preserving a tradition that goes back to the early days of the New
York City jazz and swing dance scene. | cannot understand why someone

would want to destroy this, and | sincerely believe it is because of my race

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and religious beliefs | have been purposely targeted. There is no logical
explanation as to why | would be subjected to this amount of harassment
and discriminatory behavior.

|, Mohammed John Sohel Akhtar, declare under penalty of perjury

under the laws of the United States of America that the foregoing is true and

correct.

Dated: April 25, 2025 thy ye ai

Mohammed “Jolin” Sohel Aktar
Personally and as Owner of of La Buca
Restaurant, Corp. d/b/a Swing 46 Jazz

and Supper Club.

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